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        EXHIBIT A
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                                                                                                         US00RE4 7053E
          United States
  5       Reissued Patent                                            (10)   Patent Number:         US RE47,053 E
          Drosset et al.                                             (45)   Date of Reissued Patent:  Sep. 18, 2018

  (54)     METHOD AND SYSTEM FOR                                             (56)                          References Cited
           SUBSCRIBER-BASED AUDIO SERVICE
                                                                                                    U.S. PATENT DOCUMENTS
           OVER A COMMUNICATION NETWORK
                                                                                      5,191,573 A           3/1993 Hair                           369/84
  (75)     Inventors: Joseph St-John Drosset, Queen Creek,                            5,675,734 A          10/1997 Hair                          709/219
                      AZ (US); Michael Kim, Naperville, IL                                                      (Continued)
                      (US); Christopher J. Bottorf, Chicago,
                      IL (US); Juan C. McMillan, Glencoe,                                       FOREIGN PATENT DOCUMENTS
                      IL (US)
                                                                             EP                       0701371           3/1996
                                                                             EP                       0982732           3/2000
  (73)     Assignee: Benhov GMBH, LLC, Wilmington, DE
                     (US)                                                                                       (Continued)

  (21)     Appl. No.: 13/285,865                                                                      OTHER PUBLICATIONS
                                                                             Deering, et al., "Internet Protocol, Version 6 (Ipv6)," Network
  (22)     Filed:       Oct. 31, 2011                                        Working Group, RFC-2460, Dee. 1998, pp. 1-28.
               Related U.S. Patent Documents                                                                    (Continued)
  Reissue of:                                                                Primary Examiner Ovidio Escalante
  (64) Patent No.:       6,662,231                                           (74) Attorney, Agent, or Firm Meyertons, Hood,
        Issued:          Dec. 9, 2003                                        Kivlin, Kowert & Goetzel, PC.
        Appl. No.:       09/608,270
        Filed:           Jun.30, 2000                                        (57)                            ABSTRACT
  U.S. Applications:                                                         Disclosed is a method and system for providing audio
  (62) Division of application No. 11/299,241, filed on Dec.                 service to a client through a communication network. A user
        9, 2005, which is an application for the reissue of Pat.             subscribes to the service and the user's access to audio files
        No. 6,662,231.                                                       is contingent upon authorization and validation. Once autho-
                                                                             rized, the user may access and stream out audio date files, or
                                                                             similar types of files, to the client device through the
  (51)     Int. Cl.
                                                                             communication network. Metrics are maintained for the
           G06F 15116              (2006.01)
                                                                             play-out of each audio file and payment may be allocated to
           H04N 211482             (2011.01)
                                                                             an owner of rights in the audio file based on the play-out
           G06F 17130              (2006.01)
                                                                             statistics. The user may maintain customized play lists on
  (52)     U.S. Cl.
                                                                             the server for playing out preselected audio files. A play list
           CPC ..... H04N 2114825 (2013.01); G06F 1713074
                                                                             may be sent to another user. The server may also be
                          (2013.01); G06F 17/30772 (2013.01)
                                                                             configured to select audio files not previously selected by the
  ( 58)    Field of Classification Search
           CPC          G06F 17/3074; G06F 17/30772; H04N                    user based on the user's past selection behavior or based on
                                                     21/4825                 the user's stated preferences. The audio files identified by
                             (Continued)                                                                        (Continued)



                                                               400                                                                                430


                                                             /                                                                              /
                                                                                  ENTERED PERIODICALLY          START
                                               402                                  (e.g. HOURLY, DAILY,                      432
                                                                                        WEEKLY, etc.)
    404
                                                                            434
                MEASURE DURATION OF PLAY-OUT OF AUDIO FILE
                                                                                            CALCULATE TOTAL PLAY-OUT TIME FOR EACH AUDIO
                                                                                                          FILE IN DATABASE

                    CREATE RECORD FOR AUDIO FILE WITH
                     USER ID AND DURATION AND LINK TO
                                                             406
                              AUDIO DATA FILE
                                                                                        ALLOCATE PAYMENT TO OWNER OF EACH AUDIO FILE
                                                                                          BASED ON PLAY-OUT TIME FOR EACH AUDIO FILE
          408
                                                                                                                                                   436
                    ADD DURATION TO PLAY-OUT TOTAL FOR
                                AUDIO FILE
                                                                                      438      CLEAR PLAY-OUT TIME FOR EACH AUDIO FILE



                                  DONE                                                                           DONE            440
                                                 410
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                                                                           Page 2


  the server are then suggested to the user. The user may also                      2009/0177742 Al      7/2009 Rhoads et al.
  be referred by the server to a sales site to purchase a                           2011/0265135 Al*    10/2011 Liwerant et al.            725/112
                                                                                    2012/0209962 Al*     8/2012 Eyal                 G06F 17 /30038
  recording of the audio file.                                                                                                             709/219

                 23 Claims, 16 Drawing Sheets                                                FOREIGN PATENT DOCUMENTS
                                                                                EP               0982732 Al          3/2000               GllC 7/00
                                                                                EP               1548741             6/2005
  (58)    Field of Classification Search                                        EP               1712977            10/2006
          USPC .......... 709/201 203, 217 219, 227 229,                        WO            1999018518             4/1999
                                        709/231 232, 245 247                    WO           WO 99/18518             4/1999              G06F 17/00
          See application file for complete search history.                     WO            1999027681             6/1999
                                                                                WO            2002045316             6/2002
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           CLIENT                  SERVER                           DATABASE

          202       CONNECT(USER ID,
                                                                                      {200
                    PASSWORD)            AUTHORIZE
                                         QUERY(USER ID)
                                                                      l

                                        AUTHORIZE REPLY(USER ID,
                                        PASSWORD)                         204
                 RESPONSE(ACCEPT/
                 REJECT)
                                                                           206

                REQUEST(AUDIO ID1
                                         AUDIO QUERY(AUDIO 1D1)


                                                                                212
                                         AUDIO REPL Y(AUDIO
                                          ATA1)    _-
                                                                          214
                                         INCREMENT(AUDIO ID1)
         218A
                STREAM(AUDIO DATA1}
                                                                                216




                                         LOG(AUDIO ID1,
                                         DURATION)             --
                REQUEST(AUDI9 ID2
                                         AUDIO QUERY(AUDIO 1D2)


                                         AUDIO REPLY(AUDIO                      224
                                        ..,_
                                         DATA2)                 _
                                                                          226
         230A                            INCREMENT(AUDIO ID2)
                STREAM(AUDIO DATA2)


                                         LOG(AUDIO 1D2,
                                         DURATION)        --
                                                                                232

                                 FIGURE 6
Case 2:22-cv-00255-JRG-RSP Document 1-1 Filed 07/08/22 Page 8 of 33 PageID #: 34


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         CLIENT                      SERVER                    DATABASE               { 250


        252       CONNECT(USER ID,
                  PASSWORD)             AUTHORIZE
                                        QUERY(USER ID)_ _--         .%,

                                       AUTHORIZE REPLY(USER ID,
                RESPONSE(ACCEPT/       PASSWORD, PLAYLISTS)               254
                REJECT)
                                        LIST QUERY(PLAYLIST
                                        ID1)
               LIST REQUEST
               (PLAYLIST ID1)           LIST REPLY(AUDIO ID1,
                                        AUDIO ID2, ... AUDIO IDn)               262



        270A
               STREAM(AUDIO DATA1)
                                                                                266


                                                                          268

                  - - - - - - - - - LOG(AUDIO 101, DURATION
                    COMPLETE        ----------
                                        AUDIO QUERY(AUDIO ID2)

               STREAM(AUDIO DATA2)      AUDIO REPLY(AUDIO DATA2)                 280
                  ---------�----------
                                                                          282
                                       LOG(AUDIO ID2, DURATION
                                        AUDIO QUERY(AUDIO ID3)


               STREAM(AUDIO DATA3)                                              290

                                                                          292

                                       LOG(AUDIO 103, DURATION)


                                        AUDIO QUERY(AUDIO ID2)                  296
               STREAM(AUDIO DATA2)

                                       �----------
                  _ _ _ _ _ _ _ _ _ AUDIO REPLY(AUDIO DATA2)                    302

                                                                          304




                                FIGURE 7
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                                                                             350



      356
                                         START
                                                                      /
                RECEIVE AUDIO REQUEST FROM USER WITH AUDIO ID VALUE



                            QUERY DATABASE WITH AUDIO ID TO
                               RETRIEVE AUDIO DATA FILE               358


               360          RECEIVE AUDIO FILE FROM DATABASE



                 STREAM OUT AUDIO FILE TO CLIENT UNTIL END OF AUDIO
                       FILE OR INTERRUPTED BY NEW REQUEST



                                         DONE             364


                                       FIGURE 8


             ENTERED PERIODICALLY        START                              370

                                                                      /
               (e.g. HOURLY, DAILY,
                   WEEKLY, etc.)
       374
               CALCULATE TOTAL COUNT FOR ALL AUDIO FILES IN DATABASE




                     ALLOCATE PAYMENT TO COPYRIGHT OWNERS OF EACH
                      AUDIO FILE BASED ON COUNT FOR EACH AUDIO FILE
                                                                            376


                 378
                            CLEAR COUNT FOR EACH AUDIO FILE




                                         DONE             379



                                       FIGURE 9
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                                                                          400



          404
                                            START
                                                                      /
                        MEASURE DURATION OF PLAY-OUT OF AUDIO FILE



                            CREATE RECORD FOR AUDIO FILE WITH
                             USER ID AND DURATION AND LINK TO
                                      AUDIO DATA FILE


                 408
                            ADD DURATION TO PLAY-OUT TOTAL FOR
                                        AUDIO FILE




                                             DONE
                                                               410



                                         FIGURE 10
                                                                          430

                                                                      /
               ENTERED PERIODICALLY          START
                 (e.g. HOURLY, DAILY,
                     WEEKLY, etc.)

         434
               4CALCULATE TOTAL PLAY-OUT TIME FOR EACH AUDIO
                                        FILE IN DATABASE




                       ALLOCATE PAYMENT TO OWNER OF EACH AUDIO FILE
                         BASED ON PLAY-OUT TIME FOR EACH AUDIO FILE
                                                                            436


                          CLEAR PLAY-OUT TIME FOR EACH AUDIO FILE



                                             DONE              440


                                          FIGURE 11
Case 2:22-cv-00255-JRG-RSP Document 1-1 Filed 07/08/22 Page 11 of 33 PageID #: 37


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             CLIENT                      SERVER                        DATABASE         500
                                                                                   {
         502          CONNECT(USER ID,
                      PASSWORD)              AUTHORIZE QUERY(USER ID)


                                            AUTHORIZE REPLY(USER ID,
                  RESPONSE(ACCEPT/          PASSWORD)_ ----

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                  REJECT)
                                            ELECTION QUERY(USER 101)
                                            -----------                       506
                                            SELECT REPLY(USER ID1, SELECT
                                                                               510
                                            ID1, SELECT ID2, SELECT IDn)
                                              ----------
                                           CATEGORY QUERY(SUGGEST ID1,       512
                                           SUGGEST ID2, SUGGEST IDn)
                                            -----------
                                            CATEGORY REPLY(CATEGORY1,
                                            CATEGORY2, CATEGORYn)
                                              ----------                     516
                                           CATEGORY SEARCH(CATEGORY1

                                             SEARCH REPLY(AUDIO IDx,
                  RESPONSE(SUGGEST
         522                                 AUDIO IDy, AUDIO IDz)
                  ID1, SUGGEST ID2, ...
                  SUGGEST_ID)_--
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                 ________ _.,.
                REQUEST(SUGGEST ID1)
                                              AUDIO QUERY(SUGGEST ID1)
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         530A                                AUDIO REPLY(AUDIO DATA)
                STREAM(AUDIO DATA)
                   --------- -----------                                      528
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       532      REFERRAL
                REQUEST(AUDIO    ID)_       LOG(SUGGEST 101,
                                            DURATION)_ _----
                                            INCREMENT(REFERRAL
                                            COUNT) ________                    534
                                            TRANSFER(REFERRAL
                                            LINK)__________                    536

                                                                                  538
                                   FIGURE 12
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                                START



          554
                                                                    550

                                                               /
                       TRACK USER SELECTIONS,
                           PLAYLISTS, ETC.




                CATEGORIZE USER SELECTIONS BASED ON
                   GENRE, ARTIST, ERA, OTHER USER'S
                           SELECTIONS etc.




          558    SEARCH FOR UNSELECTED AUDIO FILES
                    IN SAME OR SIMILAR CATEGORY/
                   CATEGORIES AS USER SELECTIONS




                OUTPUT MESSAGE TO CLIENT WITH SET OF
                SUGGESTED AUDIO IDs FOR UNSELECTED
                    AUDIO FILES FOUND IN SEARCH




                                 DONE             562




                             FIGURE 13
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                                START



        574
                OBTAIN REFERRAL LINK TO SALES SITE                     570
                 FOR AUDIO ID SUGGESTED TO USER
                                                                /

                  RECEIVE REFERRAL REQUEST FOR
                  SUGGESTED AUDIO ID FROM USER




                  INCREMENT REFERRAL COUNT FOR
        578               REFERRAL LINK




                 TRANSFER USER TO REFERRAL LINK
                                                                 276




                                DONE              284




                            FIGURE 14
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             CLIENT                      SERVER                         DATABASE         100
                                                                                    (
        702           CONNECT(USER ID,
                      PASSWORD)              AUTHORIZE QUERY(USER ID)


                                            AUTHORIZE REPL Y(USER ID,
                 RESPONSE(ACCEPT/           PASSWORD)_       ----
                 REJECT)
                                            ELECTION QUERY(USER 1D1)
                                            -----------                        706
                                            SELECT REPL Y(USER ID1, SELECT
                                                                                   710
                                            ID1, SELECT 1D2, SELECT IDn)
                                              ----------
                                           CATEGORY QUERY(SUGGEST ID1,        712
                                           SUGGEST ID2, SUGGEST IDn)
                                            -----------
                                           CATEGORY REPLY(CATEGORY1,
                                           CATEGORY2, CATEGORYn)
                                              ----------                      716
                                           CATEGORY SEARCH(CATEGORY

                                             SEARCH REPLY(AUDIO IDx,         718
                 RESPONSE(SUGGEST
        722                                  REFERRAL LINK)
                 ID1, REFERRAL LINK,
                 SOURCE ID) ____
                                              ----------
                                                                             720
               REQUEST(SUGGEST 1D1)
                 --------�                    AUDIO QUERY(SUGGEST 1D1)
                                            ------------
                                             AUDIO REPLY(AUDIO DATA,           �
                                                                                   726
                STREAM(AUDIO DATA)           REFERRAL LINK, SOURCE ID)
                  --------- -----------
                  --------                                                     728

                  --------
                  --------

                      NEW WINDOW-LINK
                      REQUEST
                      (REFERRAL LINK,
                      SOURCE ID)
       738        's
                         A
                 TO SALES SERVER


                                   FIGURE 15
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                                 START           752



           754
                  OBTAIN REFERRAL LINK TO SALES SITE                  750
                  FOR REFERRAL OF SALES FROM USER
                                                               /
                 SEND REFERRAL LINK AND SOURCE ID TO
                 CLIENT ALONG WITH EACH SELECTED OR
                         SUGGESTED AUDIO FILE                  756




                                 DONE              758


                             FIGURE 16


                                 START
                                                                     760


           764      RECEIVE USER SELECTION OF AUDIO
                                                              /
                    FILE FOR REFERRAL TO SALES LINK




           OPEN NEW BROWSER WINDOW AND SEND REQUEST FOR
             CONNECTION TO REFERRAL LINK WITH SOURCE ID
                  CORRESPONDING TO SERVICE SERVER
                                                                     768




                                 DONE              770




                             FIGURE 17
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       CLIENT1    CLIENT2                     SERVER                        DATABASE       800
                                                                                       {
       802              SEND LIST(USER ID2,
                        PLAY LIST ID)



                         LIST MSG(PLAYLIST,
                         SOURCE ID)
                        CONNECT REQ(USER
                        ID2, PASSWORD,
                        PLAYLIST)
                                                  AUTHORIZE QUERY(USER ID)

                                                 AUTHORIZE REPLY(USER ID,
                                                 PASSWORD)_           ---

                                                ADD SUBSRIBER(USER ID2,
                                                PASSWORD)          ---

                                                 LIST QUERY(PLAYLIST ID)

                                                 LIST REPLY(AUDIO ID1,
                                                 AUDIO ID2, ... AUDIO IDn) _--

                                                 AUDIO QUERY(AUDIO ID1)



                 840A
                        STREAM(AUDIO DATA1)
                                                                                    838




                                                 LOG(AUDIO ID1,
                                                 DURATION)_         ----
                                                                                     842




                                        FIGURE 18
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                                START



       1004
                                                                    1000


                                                                /
                     OBTAIN NUMBER OF SONGS IN
                        PLAYLIST FROM USER




                OBTAIN USER SELECTIONS IN TERMS OF
               PERCENTAGE BY CATEGORY, e.g. GENRE,
                          ARTIST, ERA, etc.




                  SELECT AUDIO FILES FOR PLAYLIST
       1008      FROM EACH CATEGORY SELECTED BY
                   USER BASED ON USER SPECIFIED
                           PERCENTAGE




               PLAY-OUT AUDIO FILES FROM PLAYLIST TO
                  USER OR STORE WITH USER DATA




                                DONE              1012




                            FIGURE 20
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                                      START



             1054
                     OBTAIN USER SELECTIONS IN TERMS OF               1050
                        PERCENTAGE BY CATEGORY, e.g.
                           GENRE, ARTIST, ERA, etc.           /

                    SELECT SET OF N AUDIO FILES FROM EACH
                    CATEGORY SELECTED BY USER BASED ON        1056
                         USER SPECIFIED PERCENTAGE




                      GET SONG FROM SET OF N SELECTED
                                AUDIO FILES
             1058



                     PLAY-OUT SONG FROM SET OF N SONGS
                                                               1060




                          y                           N




                                               1062




                                FIGURE 21
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                                                         US RE47,053 E
                                  1                                                                     2
             METHOD AND SYSTEM FOR                                         FIG. 5 is a functional block diagram illustrating a data
         SUBSCRIBER-BASED AUDIO SERVICE                                 structure restoring play-out data according to the present
         OVER A COMMUNICATION NETWORK                                   invention;
                                                                           FIG. 6 is a message flow diagram according to one
                                                                      5 embodiment of the present invention as applied to the
   Matter enclosed in heavy brackets [ ] appears in the                 architecture of FIG. 1;
   original patent but forms no part of this reissue specifica-            FIG. 7 is a message flow diagram of another embodiment
   tion; matter printed in italics indicates the additions              of a message exchange according to the present invention;
   made by reissue; a claim printed with strikethrough                     FIG. 8 is a control flow diagram of an embodiment of the
   indicates that the claim was canceled, disclaimed, or held 10 processing taking place in the server of FIG. 1;
   invalid by a prior post-patent action or proceeding.                    FIG. 9 is a control flow diagram illustrating an embodi-
                                                                        ment of a periodic process taking place in the server of FIG.
                                                                        1 according to the present invention;
      More than one reissue application has been filed for the             FIG. 10 is a control flow diagram illustrating an embodi-
   reissue of U.S. Pat. No. 6,662,231. The reissue applications 15 ment of a process for measuring duration of play-out of an
   are U.S. application Ser. No. 11/299,241,filed Dec. 9, 2005;         audio file according to the present invention;
   U.S. application Ser. No. 11/513,985, filed Aug. 31, 2006,              FIG. 11 is a control flow diagram of a process according
   which is a continuation of U.S. application Ser. No. 11/299,         to  the present invention for allocating pay-out for an owner
   241; and the present reissue application, which is a dii-            of an audio file based on play-out time for each audio file;
   sional of U.S. application Ser. No. 11/299.241.
                                                                     20    FIG. 12 is a message flow diagram illustrating an embodi-
                                                                        ment of a message exchange according to the present
                   FIELD OF THE INVENTION                               invention for suggesting additional suggestions to a user;
                                                                           FIG. 13 is a control flow diagram illustrating an embodi-
                                                                        ment of a process according to the present invention in the
       The present invention relates to audio data communica-
                                                                     25 server of FIG. 1 for identifying suggested audio files for a
   tions. More specifically, it relates to customized audio
                                                                        user;
   service to a user over a communications link through
                                                                           FIG. 14 is a control flow diagram illustrating an embodi-
   communication network.                                               ment of a process according to the present invention for
                                                                        handling referral of the user to a sales site;
             DESCRIPTION OF THE RELATED ART                          30    FIG. 15 is a message sequence diagram illustrating an
                                                                        embodiment of an exchange of messages in the architecture
       Digital audio services are increasingly available to users       of FIG. 1 for suggesting alternative audio file selections to
   through a variety of sources. In these services, audio data          a user and tracking the source of sales referral for the audio
   files, such as MP3 files, are stored in a server and streamed        file ID;
   or downloaded on demand to users over connections through 35            FIG. 16 is a control flow diagram illustrating an embodi-
   a wide area network, such as the Internet or the Web.                ment of a process executing at the server of FIG. 1 for
       Often, these services are used to download audio files           sending a referral link to the client of FIG. 1;
   which are then stored and disseminated to other users in                FIG. 17 is a control flow diagram illustrating an embodi-
   violation of the rights of the owners of the audio files. Also,      ment of the process according to the present invention in the
   these services typically only provide users with the selec- 40 client of FIG. 1 for referring a link to a sales site;
   tions that the user himself identifies.                                 FIG. 18 is a message sequence diagram illustrating an
       Other services, such as internet radio stations, typically       embodiment of an exchange of messages in the architecture
   provide music to user in a manner consistent with the rights         of FIG. 1 for sending an audio play list to another user;
   of the owners of the audio files. This is typically accom-              FIG. 19 is a functional block diagram illustrating another
   plished by paying royalties to the owners based on the 45 architecture suitable for application of the present invention;
   play list of the station. However, the music provided by the            FIG. 20 is a control flow diagram illustrating an embodi-
   station is chosen by a programming director or service.              ment of a process for creating an automatic play list for a user
                                                                        according to the present invention; and
       Consequently, an improved method for delivering music
                                                                           FIG. 21 is a control flow diagram illustrating an embodi-
   to users is desired that protects the rights of the owners of the
                                                                     50 ment of a process for providing dynamic music selections
   mus1c.
                                                                        for a user according to the present invention.
         BRIEF DESCRIPTION OF THE DRAWINGS                                     DETAILED DESCRIPTION OF THE PRESENT
                                                                                           INVENTION
      The present invention is described below in the context of     55
   several embodiments of the invention with reference to the                The present invention is directed toward a subscriber-
   following drawings, wherein like reference numerals refer to           based service for providing audio files to a client device
   like elements in the various figures, and wherein:                     connected to a server through a network, such as a wide area
      FIG. 1 is a functional block diagram of several embodi-             network. The server has access to user data and audio data
   ments suitable for application of the present invention;          60   files stored in a memory system, such as a database. A user
      FIG. 2 is functional block diagram illustrating an embodi-          requesting service from the server is validated to ensure that
   ment of a data structure for use of the present invention;             the user is a subscriber. The user may then request streaming
      FIG. 3 is a functional block diagram illustrating an                or download of audio data files or customized play lists from
   embodiment of a data structure for representing user demo-             the server. Metrics for play-out of each audio file, such as
   graphics of the present invention;                                65   duration of play-out or number of play-outs, are maintained
      FIG. 4 is a functional block diagram of a data structure for        for the audio files and used to allocate payment of royalties
   an Audio File Table according to the present invention;                or license fees to owners of rights in the audio files, such as
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                                                        US RE47,053 E
                                 3                                                                  4
   copyrights or phonograph rights. The user may also maintain       replicated as the capacity requirements for the system dic-
   and modify customized playlists through the server and send       tate. Any data updated through an administrative interface,
   playlists to other users.                                         through a system intranet, or by daemon process may be
      The method and system according to the present invention       configured as a master-slave configuration in a replicated
   provides users with opportunities to search, listen, manage, 5 environment simplifying the replication strategy. The user
   and purchase their favorite music in the environment pro-         updated information through the web site may also be
   vided by the present invention. Examples of the types of          configured as a multi-master configuration in a replicated
   users that may interact with the present invention include        environment.
   customers, ad scheduling operations personnel, and program            FIG. 2 is an embodiment of a data structure residing in
   or music scheduling operations personnel.
                                                                   " database 90 of FIG. 1. FIG. 2 is a user data table that is
      FIG. 1 illustrates an embodiment of an architecture suit-
                                                                     populated to identify users that are subscribed to an audio
   able for use in the present invention. Laptop computer 10 is
                                                                     service provided by server 80 of FIG. 1. The user data table
   a client device connected to Local Area Network (LAN) 14
   through communication link 12. LAN 14 is linked to Net-           in  FIG. 2 includes an alphanumeric User ID for identifying
   work Access Server 20 through communication link 16, and 15 the user, an alphanumeric User Password to validate the
   Network Access Server 20, in tum, is connected to Public          subscriber, a Subscribed boolean value that indicates that the
   Internet Protocol (IP) Network 70 through communication           user is subscribed to the service, a first Play List pointer and
   link 22.                                                          a second Play List pointer that may each point to a location
      Client device 30, which, in this example, is a personal        in memory for a play list defined by the user or another
   computer, is connected to LAN 34 through communication 20 source, and a User Demographics pointer that points to a
   link 32. LAN 34 is connected to Network Access Server 40          data record containing demographic data for the User IDen-
   through communication link 36. Network Access Server 40           tified by the User ID. Other data structures, such as a table
   is connected to Public IP Network 70 through communica-           or array, may also be used for storage of this information.
   tion link 42.                                                         FIG. 3 is an example of a data structure according to the
      And in yet another example of a client device and network 25 present invention for storing the user demographic data
   configuration suitable for use in the present invention, client   pointed to by the user demographics pointer of the user data
   device 40 is a dedicated wireless hardware device that is         table of FIG. 2. The record shown in FIG. 3 will typically be
   connected to a wireless network 44, such as a cellular            part of a list of such records pointed to by the user demo-
   network, satellite network, or wireless LAN, through wire-        graphics pointer. Other data structures, such as a table or
   less communication link 42. Wireless network 44, in tum, is " array, may also be used for storage of this information. Also
   connected to Network Access Server 50 through communi-
                                                                     note that the record of FIG. 3 may be composed of a variety
   cation link 46. Network Access Server 50 is connected to
                                                                     of data entries and those shown are merely exemplary. In
   Public IP Network 70 through communication link 52.
                                                                     addition to the age, gender, profession, categories and selec-
   Server 80 is connected to Public IP Network through com-
   munication link 82 and is capable of communicating with 35        tions  fields, a location field may be added to indicate the
   each of client devices 10, 30 and 40 through its respective       location for login by the user, the connection rate for the
   network access. Server 80 is also on communication with           client-server connection, the income level of the user and the
   Database 90 through communication link 92.                        user's postal code. One of ordinary skill in the art will
      The architecture of FIG. 1 illustrates a variety of client     readily appreciate that other data structures and information
   devices and network configurations suitable for use accord- 40 fields may be employed in accordance with the desired
   ing to the present invention. The client devices may include      design without departing from the teachings of the present
   dedicated audio file devices, such as MP3 readers, or more        invention.
   generalized devices with audio capability, such as personal           FIG. 4 is an embodiment of a data structure containing
   computers, personal data assistants, or laptop computers,         data for a plurality of audio files in the form of an Audio File
   that may be equipped with sound cards or similar equipment 45 Table. The Audio File Table in FIG. 4 contains an alphanu-
   that permit an audio signal to be generated in response to an     meric Audio ID for uniquely identifying each entry in the
   audio data file. Radio-frequency enabled devices, such as         Audio File Table. Examples of protocols suitable for use, in
   cell phones, automobile-based communication devices, or           whole or in part, as the Audio ID are the MP3ext protocol
   more general computing devices with wireless communica-           and the ID3 protocol described further at www.id3.org and
   tion equipment, may also be used in accordance with the 50 incorporated by reference herein.
   present invention.                                                    For each Audio File Table, the table includes a Play Count
      Public IP network 70 is one example of a wide area             indicating the number of times that the audio file has been
   network (WAN) suitable for use with the present invention.        played out to a user, a Play-out Time value that indicates the
   The user of other types of network is possible, including         duration of time that the audio file has been played out, an
   wireless networks. The Internet Protocol is defined in 55 alphanumeric Owner ID to identify the owner of the audio
   Request For Comment (RFC) 2460, and its predecessor               file, a Referral Link containing a universal resource locator
   documents, available through the Internet Engineering Task        (URL) indicating a sales site for the audio file, and a Referral
   Force (IETF) at www.ietf.org, and herein incorporated by          Count value indicating the number of times that a user has
   reference in its entirety for all purposes.                       been referred to the sales site of the referral link. Further
      Each server type in the figure represents a logical server 60 information regarding URLs is available through the IETF at
   or server cluster or server farm in the architecture and is not   www.ietf.org.
   limited to an individual physical server. The server site may         The table in FIG. 4 also includes an Audio Data pointer
   be deployed as a server farm or server cluster managed by         that indicates the actual location of the digital codes of the
   the service hosting provider. For this reason, it may be useful   audio file itself. The digital codes may be MPEG 3 (MP3)
   not to hold any user states from one http request to the next 65 codes or similar data encoding methods. See the Interna-
   in the server site or in a web server. The database server may    tional Organisation for Standardisation (ISO) for further
   be deployed as a server cluster. This configuration may be        information relating to the Motion Picture Engineering
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                                  5                                                                       6
   Group (MPEG) standards for coding of moving pictures and                forwards it to the server in message 214. Server 80 sends an
   associated audio for digital storage media at www.cselt.it/             increment a, message 216 contained in the audio value
   mpeg/ standards.                                                        Audio ID1, which causes the play count value of Audio File
       The Audio File Table also includes a Play Data pointer              Table of FIG. 4 to be incremented for the Audio ID value.
   that points to the beginning of a list and memory of database      5    Server 80 also begins to stream out the audio data to the
   90 that contains a record for each user access of the audio             client device in a series of packets 218A-F, which the client
   file. One or more alphanumeric Category colunms in the                  device converts into audio outputs of the user. In one
   Audio File Table identify a category for the audio file and             embodiment of the invention, server 80 sends a log message
   may indicate a type, genre, era, artist, or similar identifying         220 containing the Audio ID value Audio IDl a and a
   information for the audio file. Multiple category colunms          10   duration of the streaming out of the audio value for Audio ID
   may be used to associate the audio file within multiple                 value 1, which causes the play-out time value in the Audio
   categories, such as multiple genres, e.g. alternative rock and          File Table of FIG. 4 for the Audio ID value to be increased
   folk, or in both a genre and an era, e.g. rock and 80s music.           by the duration value. The user may continue to request
   Other data structures, such as a linked-list of records or an           play-out of audio files by submitting additional request
   array, may also be used for storage of the audio file infor-       15   messages such as request message 222 containing Audio ID
   mation.                                                                 value 2, which is processed in a manner similar to the
       FIG. 5 is an example of a data structure for storing the            processing of Audio ID file 1 as described above.
   play data pointed to by the Play Data pointer of the Audio                 Examples of streaming audio software applications that
   File Table in FIG. 4. The data record of FIG. 5 includes a              may be adapted for use with the present invention are
   User ID identifying the user that requested the play-out and       20   Microsoft Media Services, Quicktime, and ReaLPlayer.
   a duration field indicating the length of the play-out by the           Streaming audio applications typically sent an audio file in
   user. Other data structures may also be suitable for storage            a series of packets that include parts of the song stored in the
   of this information. Alternatively, the record of FIG. 5 may            audio file. The streaming application typically only stores a
   have a pointer that links the record to the audio file table of         few seconds of an audio sequence in order to account for
   FIG. 4. One of ordinary skill in the art will readily appreciate   25   network or system latency. Since only a small portion of the
   that there is a vast number of different approaches to                  audio file is typically resident in the client device, streaming
   organizing the data used in accordance with the present                 applications present less opportunity for a user to copy and
   invention and, consequently, a large variety of different data          disseminate an audio file, thereby affording greater protec-
   structures are suitable for use with the present invention.             tion to the owner of the audio file.
       FIG. 6 is a message flow diagram illustrating an embodi-       30      FIG. 7 is a message sequence diagram illustrating an
   ment of the message exchange between the client server and              example of a message exchange 250 between the client
   database of FIG. 1. The client device initially sends a                 server and database of FIG. 1, wherein the user accesses a
   connect message 202 that contains a User ID and password                play list stored in the user data table of FIG. 2. In message
   value to the server. Using the User ID value, the server                sequence 250, authorized reply message 256 in response to
   queries the database in message 204. Database 90 searches          35   an authorized query of the users ID, not only includes the
   the user data table of FIG. 2 to find a match on the User ID            password, but includes the play list options obtained from
   value provided in message 204. The database provides the                the user data table of FIG. 2. The play list options are
   results of the search of the user data table to the server 80 in        included in the response message 256 to the user of the
   message 206, which is an authorization reply containing the             client. The user selects a play list from the play list options
   User ID and a password value. Server 80 compares the               40   and includes that in a list request message 260 to the server
   password value provided in message 206 with the password                80.
   value provided in message 202 from the client. Based on the                Server 80, using the Play List ID received in message 260,
   comparison, server 80 either accepts or rejects the connec-             sends a list query message 262 to database 90. Responsive
   tion request from the client in message 208. An example of              to the Play List ID value in list query 262, database 90
   an established authentication protocol suitable for verifying      45   obtains the pointer from the user data table of FIG. 2
   a user of a client device is the RADIUS protocol discussed              responding to the Play List ID and retrieves the Audio ID
   in Request For Comment (RFC) 2138, herein incorporated                  values from the play list for incorporation in the list reply
   by reference. Other examples of authentication techniques               message 264 to server 80. Server 80 then begins to play the
   that may be adapted for use with the present invention                  audio files of the play list selected by the user in message
   include Challenge-Handshake Authentication Protocol                50   262 by sending an audio query 266 containing the first Audio
   (CHAP), Password Authentication Protocol (PAP), digital                 ID value to database 90, which retrieves the audio data for
   certificates, Directory Access Protocol (DAP), and Light-               the Audio ID value and incorporates it into audio reply
   weight Directory Access Protocol (LDAP). See RFC 1777                   message 268 to server 80.
   and the ITU-T X.500 standard for further information                       Server 80 then proceeds to stream out audio data file 1 to
   regarding DAP and LDAP. One of ordinary skill in the art           55   the client device in a sequence of packets 270A-270D, until
   will readily appreciate that there are a variety of approaches          play-out of the audio file is complete. Server 80 then logs the
   that may be suitable for use in validating a user in accor-             duration of the play-out of the first audio file and proceeds
   dance with the present invention.                                       to query the database 90 for the second audio file in the play
       Preceding on the presumption that the connection request            list. Database 90 searches for the audio data file correspond-
   was accepted in message 208, the client may send an audio          60   ing to the Audio ID value provided in audio query 280 and
   request message 210 containing an Audio ID value Audio                  returns it to the server for play-out to the client device. The
   IDl that is received by server 80. The server then queries              user may advance to the play list by requesting a move-up
   database 90 using an audio query message 212 containing                 in the play list in message 288 to server 80.
   the Audio ID value Audio IDl. Database 90 searches the                     Responsive to message 288, server 80 logs the duration of
   Audio File Table of FIG. 4 for a match on the Audio ID value       65   the play-out of the second audio file in message 286 to
   Audio IDl and, using the audio data pointer from the Audio              database 90 and queries the database for the next audio file
   File Table, retrieves the audio data for the audio file and             in the play list in message 290. Database 90 replies with the
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                                  7                                                                    8
   audio data for the third audio file on the list which is             be entered by the user as text or may be presented to the user
   included in message 292 to the server 80, which then                 through pull-down menus or icons that the user may click
   proceeds to stream out the third audio data file in a sequence       on.
   of packets 294A-C. The user may request repeat of songs on              FIG. 8 is a control flow diagram of an embodiment of a
   the play list by sending a move back message 300 to server 5 process executing within server 80 for processing audio
   80 which will halt streaming of the third audio data file and        requests from the client device. Server 80 enters process 350
   log duration of the play-out of the third audio file in message      as step 352 and proceeds to step 356, at which the server
   296. Server 80 then queries database 90 for the second audio         receives an audio request from the user within an Audio ID
   file in message 302, database 90 retrieves the audio file and        value. Server 80 then queries database 90 with the Audio ID
                                                                        from the message received in step 356 in order to retrieve the
   returns it to server 80 in message 304, and server 80 '
                                                                        audio data file for the Audio ID as step 358. As step 360,
   proceeds with a repeat of the play-out of audio data file 2 in
                                                                        server 80 receives the audio file from database 90 and, at
   sequence of packets 306A-C.
                                                                        step 362, proceeds to stream out the audio file to the client
       The present invention enables a user to create, modify or        until either the end of the audio file is encountered or the
   delete a playlist, where the user selects the audio files or 15 streaming out is interrupted by a new request from the client
   controls the mix of audio files contained within the playlist.       device.
   A user may begin creation of a play list by selecting an icon,          FIG. 9 is a control flow diagram of an embodiment of a
   such as an icon on a graphical user interface or portion of an       process according to the present invention for allocation of
   HTML page, representing a playlist creation function. The            payment to the owners of each of the audio files in the audio
   user may be then be prompted to select songs to place in the 20 table of FIG. 4. Process 370 is entered at step 372 on a
   list.                                                                periodic basis, for example, hourly, daily or weekly. At step
       There are many different ways that a user can search for         374, the total play-out count for all audio files in the database
   and find music to populate a play list according to the present      90 is calculated. Payment is then allocated at step 376 to
   invention. For example, a user may add to a playlist a song          each of the copyright owners of the audio files based on the
   that is currently being streamed out to the user. To begin, a 25 count for each audio file. The audio file owners are identified
   user clicks on an icon in order to create new playlist or select     by the Owner ID alphanumeric value in the Audio File Table
   an existing one. A window appears at the user interface              of FIG. 4. Once the total count has been used to allocate
   prompting the user to name the play list. The user's selection       payment to the all the copyright owners at step 376, the play
   is turned into a playlist ID and entered into a data entry for       count in the Audio File Table of FIG. 4 is cleared for each
   the user or, if it already exists, retrieved from the data entry. " audio file in order to allow the process to begin again.
                                                                           FIG. 10 is a control flow diagram illustrating another
   The user then clicks on another icon to select the song that
                                                                        process 400 according to the present invention for measur-
   is currently playing and the server adds the audio ID for the
                                                                        ing play-out of audio files. In process 400, the duration of
   song to the selected playlist.
                                                                        play-out of each audio file is measured. Process 400 is
       Likewise, a user can click on an icon for a song that is 35 entered when play-out of a file begins and the duration of
   offered through a feature window presented at the user               play-out is measured for example in seconds at 404. At step
   interface. The song may begin to play-out and the user is            406, a record is created for the audio file that indicates the
   prompted to add the song to a playlist. If the user chooses to       User ID for the user receiving the file and the duration of
   add the song, then the user is prompted for a playlist name.         play-out of the file. An example of such an audio file record
   The system then adds the audio ID for the song to the 40 is indicated in FIG. 5 as discussed above and is linked to the
   identified playlist.                                                 audio data file using an audio data pointer to indicate a list
      Alternatively, a user can review playlists, such as albums        for the audio file. Note that measurement of play-out may be
   or predetermined mixes of audio tracks, defined by a service         accomplished in a variety of ways. For example, duration of
   provider operating the server or by another user and select          play-out may be measured in the client device or in one of
   songs. The user reviews a playlist presented in a window of 45 a number of servers, such as a streaming server dedicated to
   the user interface and clicks on an icon for a song in the           streaming out the audio data.
   playlist. In a manner similar to that described above, the              FIG. 11 is a control flow diagram indicating an embodi-
   song may begin to play-out and the user is prompted to add           ment of a process 430 for allocating payment to the owners
   the song to a playlist. If the user chooses to add the song,         of each audio file based on the duration of play-out of the
   then the user is prompted for a playlist name. The system 50 audio files. Process 430 is entered periodically, e.g., hourly,
   then adds the audio ID for the song to the identified play list.     daily, weekly, etc., and, at step 434, the play-out time for
       The user may also search for songs to add to the playlist.       each audio file in the data base is calculated using the
   The user interface may, for example, include a search                play-out time column in the Audio File Table of FIG. 4.
   interface presented through a window of the user interface or        Payment is then allocated to the owners of each audio file,
   as part of an HTML page. To search, the user enters text into 55 as indicated by the Owner ID value in the Audio File Table,
   a search box. For example, the user may enter the name of            based on the play-out time for each audio file, at step 436.
   an artist. The system according to the present invention will        At step 438, the play-out time colunm of the Audio File
   then search for all audio tracks or albums for that artist and       Table of FIG. 4 is cleared in preparation for a new mea-
   display the search results to the user through the user              surement.
   interface. The user may then select a song or an album, 60              FIG. 12 is a message exchange diagram illustrating an
   which will begin to play. The user may then click on an icon         exchange of messages 500 among the client, server and
   to add the song to a play list. The user is prompted to identify     database at FIG. 1 for suggestion of alternative suggestions
   a playlist, such as by entering a name for the list or clicking      to a user of the client device. After validation of the user,
   on an icon for the list, and the audio ID for the song is added      server 80 queries database 90 using the User ID value in
   to the playlist.                                                  65 message 510 to obtain the past selections made by the user
       Similarly, a user may search for music by song title,            identified by the User ID value. In one embodiment, data-
   album title, and musical style or genre. These choices may           base 90 searches for past selections made by the user
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                                                          US RE47,053 E
                                  9                                                                        10
   researching for the records shown in FIG. 5 that are con-                558. In this manner, a user is exposed to additional unse-
   nected to the Audio File Table of FIG. 4, and returns the                lected audio files that may be of interest to the user but which
   selection IDs for the audio files to the server 80 in a select           the user is unaware of
   reply message 512. Server 80 then uses the audio file                        FIG. 14 is a control flow diagram of a process 570
   identifiers returned in message 512 to submit a category            5    according to the present invention for referring a user to a
   query 514 to the database 90. Database 90 responds to the                sales site for sales related to an audio file. In process 570,
   category query and the audio file IDs by retrieving the                  server 80 obtains a referral link related to an audio file, at
   category values for each of the audio files. Server 80 then              step 574, that indicates a sale site where the audio file or the
   selects a category, in this case category 1, and submits a               music related to the audio file may be purchased by the user.
                                                                       10   The referral link is typically a universal resource locator
   category search 518 to database 90, which responds with a
                                                                            (URL) that identifies the site such as www.amazon.com that
   search reply message 520 containing a list of Audio ID
                                                                            provides sales of audio recordings. At step 576, server 80
   values having matching category values to the category 1 of
                                                                            receives the referral request from the user for suggested
   message 518. Server 80 then compares the Audio ID values                 Audio ID. Responsive to the referral request, server 80
   returned in message 520 with the Audio ID values returned           15   increments the referral count for referral link in the Audio
   in the selection reply message 512 and identifies one or more            File Table of FIG. 4, at step 578 and, at step 276, transfers
   Audio ID values in the category that have not been selected              the user to the referral link.
   in the past by the user. The server then sends these Audio ID                FIG. 15 is a message sequence diagram of a sequence 700
   values as suggested ID values in a response message 522 to               according to the present invention for providing suggestions
   the client device. The suggestions are displayed to the user        20   to a user of a client device and tracking referrals to a sales
   who selects a suggested ID, in this case suggestion ID1, that            site for sales of the audio file. Sequence 700 proceeds in a
   is submitted in an audio request 520 for the server 80, which            manner similar to that of sequence 500 ofFIG.12. However,
   sends a query 526 to database 90 containing the suggestion               the response to category search 718 with a category value
   ID value.                                                                will include the referral link values in the search reply
      Database 90 replies with the audio data file corresponding       25   message 720 for each audio file. Server 80 then returns in its
   to the suggestion ID value and which is incorporated into                response 722 the suggested track audio file ID, the referral
   audio reply message 528. Server 80 then streams out the                  link, and a source ID that identifies server 80 as the source
   audio data from audio reply message 528 to the client                    of the referral. The client subsequently requests the sug-
   device. In one embodiment of the present invention, the user             gested track ID in message 724 to server 80 queries database
   requests referral by sending a referral request message 532         30   90 for the track corresponding to the suggested track ID in
                                                                            message 726. In an alternative embodiment, the audio reply
   containing the Audio ID value from the suggestion ID that
                                                                            728 including the audio data for the suggested track can
   was previously submitted in request 524. Server 80 logs the
                                                                            include the referral link and the source ID value. Server 80
   play-out of the suggestion track by sending message 534 that
                                                                            streams out the suggested track to the user in a series of
   includes the audio file ID of the suggested track and the           35   packets 730A-D to the client. The client device application,
   duration of play-out. Server 80 then increments the referral             upon request of the user for referral to the sales site, is
   count value in the Audio File Table of FIG. 4 using message              configured to send disconnect message 732 that includes the
   536 and transfers the user to the referral link value by                 User ID to server 80. Responsive to the disconnect message
   sending message 538, which will then cause client device to              732, server 80 is configured to log the duration of the
   be transferred to the site indicated by the URL of the referral     40   play-out of the suggested track. When the user selects, for
   link.                                                                    example, a purchase option through the user interface, the
      Note that the a suggested song can be added to a playlist             application of the client device is further configured to
   by the user. For example, while the song is playing, the user            transfer the user to the sales site server by opening a new
   can click on an icon on the user interface for adding the                browser window and sending link request 738 to the sales
   suggested song to a play list. The user is prompted to identify     45   server through the new browser window. The link request
   a playlist. The system then adds the audio ID for the song to            738 includes the referral link, which is the URL value for the
   the identified play list for the user. This information is stored        sales site, and the source ID value that corresponds to server
   and may be subsequently retrieved.                                       80. The application of the sales server is then configured to
      FIG. 13 is a control flow diagram of an embodiment of a               record the source ID for each link request in its records as
   process 550 for identifying suggestion tracks for the user.         50   is typically done in conventional devices today. Note that the
   Process 550 may be entered at various points including                   original browser window maintains streaming of the audio
   log-in and validation of the user as identified above. At step           data file and referral of the user need not interrupt by the
   554, server 80 tracks the users selections as well as play lists         audio service of the present invention.
   and other information relating to the user's tastes and                      FIG. 16 is a control flow diagram of process 750 accord-
   interests. This may be performed either through the search of       55   ing to the present invention for the server 80 according to the
   the records shown in FIG. 5 or through a list of user                    message exchange sequence 700 of FIG. 15. In process 750,
   selections attached to the user's entry in the user data table           server 80 obtains the referral link to the sales site for referral
   of FIG. 2. At step 556, the user selections are categorized.             sales from the user, at step 754. As noted above, this referral
   This categorization may be based on genre, artist, era or                link is obtained from the other file table of FIG. 4 stored in
   similar data and may make reference to other user selections        60   database 90. At step 356, server 80 sends the referral link,
   who have similar tastes. Processing them proceeds to step                along with the source ID corresponding to the server 80, t0
   558 where server 80 searches for unselected audio files in               the client device along with each selected or suggested audio
   the same or similar categories as the user selections that have          file. It should be noted that this process can be used with
   been tracked in the past or may be found in play-lists or in             audio files requested by the user and not only audio files
   other user selections having similar tastes. At step 560, a         65   suggested by server 80.
   message is output to the client with suggested Audio IDs                     FIG. 17 shows a control flow diagram illustrating process
   from selected audio files that were found in the search at step          760 according to the present invention taking place in the
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                                  11                                                                       12
   client device. In process 760, the client device receives the             (WML) servers 952, 954 and 956. See www.wapforum.org
   user selection of an audio file for referral to a sales link at           or www.xwap.com for further information regarding WAP
   764. The client device opens a new browser window at the                  and WML.
   user interface and, using the new window, sends the request                  As one example, server 920 may receive an HTTP request
   for connection to the referral link URL value for connection         5    from one of the client devices 902 and 906 via IP network
   to the sales site and includes a source ID corresponding to               70 and distributes the request to one of the HTTP servers
   the service server 80 that referred the user to the sales site.           932, 934, and 936. Similarly, server 940 may receive an
      FIG. 18 is a message sequence diagram of a sequence 800                HTTP request from one of the wireless client devices 910
   according to the present invention for sending a play list to             and 914 via IP network 70 and distributes the request to one
                                                                        10   of the WML servers 952, 954, and 956. The HTTP or WML
   another user. In sequence 800, a first user at Client 1 sends
                                                                             server processes the request, such as a user login or regis-
   a Send List message that includes an identifier value for
                                                                             tration request, by accessing the various functional servers
   another user User ID2, though this may also be a URL,
                                                                             to obtain the data needed to service the request. For example,
   network address, or domain name value for another user, and               in response to a user login request, the server processing the
   a Play List ID. Server 80 sends a List Message 804 to the            15   request sends a query to membership server 988 that
   second user at Client 2 that includes the Play List ID and a              includes the user ID value from the user request. The
   Source ID that identifies the server. The second user sends               membership server searches for user data corresponding to
   a connect request message 806 that includes the User ID2                  the user ID value, such as data from an entry in the user data
   and the Play List ID and may include a password value. The                table of FIG. 2, and returns the data in a reply to the HTTP
   server responds to the connect request by attempting to              20   or WML server servicing the request. The HTTP or WML
   validate the user through the sequence of authorize query                 server then formats and sends a reply to the client device
   810 and authorize reply 812. The server then either accepts               from which the user sent the request.
   the connection request or, if the second user is not a                       If the user has not registered for a paid subscription to the
   subscriber to the service provided by server 80, sends an                 service provided by the cluster in accordance with the
   invitation indicator inviting the second user to subscribe to        25   present invention, then the HTTP or WML server may
   the service.                                                              prompt the user to indicate whether the user wishes to
      If the user is confirmed as a subscriber, then server 80               register or upgrade to a paid subscription. If the user does
   proceeds to play out the play list as described above.                    wish to register for a paid subscription, then the HTTP or
   However, if the second user is not a subscriber, then the                 WML server collects billing information from the user and
   second user may send a subscribe request message 822 with            30   forwards it in a message to the CyberCash server 992,
                                                                             which, for example, validates the credit information and,
   the User ID2 and a password value along with, typically,
                                                                             through network connections to financial services, such as
   billing information, such as credit card information, for
                                                                             credit card companies or banks, makes the appropriate
   payment of a subscription fee. Server 80 then adds an entry
                                                                             charges for the subscription service.
   to the user data table of FIG. 2 for the second user. Play out       35      The HTTP or WML server similarly accesses the other
   of the play list sent by the first user then proceeds in a similar        functional servers to service the connection session with the
   manner to that discussed above with respect to FIG. 7.                    client device. For instance, the HTTP or WML server may
      FIG. 19 is a functional block diagram illustrating another             send a request with an Audio ID value to the database server
   example of an architecture 900 suitable for use according to              980 to obtain an audio data file from database 982, as
   the present invention. In architecture 900, a variety of             40   discussed above. The HTTP or WML server may also send
   additional examples of client devices are shown for inter-                the logging information for the play-out to the database
   facing with a user through network 70. In addition to                     server 980 to record the audio play out. The application
   workstation devices 902 and 906, a network enabled cellular               server 986 may be accessed by the HTTP or WML server to
   telephone 910 and a Wireless Application Protocol (WAP)                   provide additional services to the user.
   enabled personal information device 914 are connected to             45      To obtain suggested audio files, the HTTP or WML server
   the network 70 through wireless communication links 912                   may send a request to the collaborative filtering server 990,
   and 914, respectively.                                                    which searches for audio files that may be of interest to the
      Server 80 of FIG. 1 is shown as a single server device.                user based on the user's behavior and indicated preferences
   However, as one of ordinary skill in the art will readily                 as well as data from other users. The collaborative filtering
   appreciate, while the server may be composed of a single             50   server 990 searches for audio files that may be of interest to
   device performing the functions and processes according to                the user using, for example, collaborative filtering algo-
   the present invention, these functions and processes may be               rithms, the algorithm discussed above with respect to FIGS.
   implemented in multiple devices, as shown in FIG. 19. In                  12 and 13, or other algorithms based on the user's behavior.
   architecture 900, a cluster site is used to provide the service           One of ordinary skill in the art will appreciate that a variety
   according to the present invention using a cluster site              55   of approaches may be taken to identify files that are suitable
   composed of multiple server devices. Communications                       candidates to suggest to the user.
   between the network 70 and the cluster site are handled by                   Another embodiment of the service provided to a user
   network access servers 920 and 940. Network access server                 according to the present invention is through automatic
   920 is connected to HTTP servers 932, 934 and 936 to which                playlist creation of a user controllable mix of audio files. In
   server 920 is connected via local network 930. The HTTP              60   automatic playlist creation, the user specifies the number of
   servers are connected to function server 980, 986, 988, 990               songs in the playlist and the percentage make-up by cat-
   and 992 through backend network 960, firewall device 962                  egory. The playlist is created by the system based on the
   and local network 970. Backend network 960 also connects                  directions specified by the user. The user may then access the
   streaming servers 952, 954 and 956 to the function servers                playlist in the manner described above.
   through firewall 962 and local network 970. Cluster server           65      An example of one scenario for automatic playlist cre-
   940 routes message traffic on the IP network 70 between                   ation starts when a user is prompted for the number of songs
   wireless clients 910 and 914 and wireless markup Language                 in the play list. The user responds with a number (e.g. forty).
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                                 13                                                                       14
   This is illustrated in step 1004 of FIG. 20, which is a flow               By way of further example, assume that a user specifies
   control diagram illustrating one embodiment of an automatic             the same choices as in the Automatic Playlist Creation
   playlist creation process according to the present invention.           scenario above. Assume that the user listens to the playlist
   At step 1006, the user is prompted for the composition in               for four hours during which eighty songs are played. The
   terms of percentage by, for example, category, artist, era,        5    first forty songs will be selected by the system subject to the
   etc., and the user responds with a series of percentages (e.g.          criteria specified by the user. The next forty songs will be
   30% Jazz, 40% Blues, 30% Hip-Hop). At step 1008, the                    selected by the same criteria, but given the dynamic nature
   system builds a playlist with the specified number of songs             of the list creation it is highly likely that different songs will
   (e.g. forty) and the requested percentages (e.g. twelve Jazz,           be played while maintaining the composition percentage by
   sixteen Blues, and twelve Hip-Hop). The selection of the           10   category.
   songs is done by the system based on the existing categories.              Generally, the service provided by the present invention is
   At step 1010, the user may then access this playlist in the             a subscription or paid service involving, for example, two
   same manner as a user created playlist or store the playlist            levels of membership, paying and non-paying. The level of
   for subsequent access by the user. To store the automatically           membership that a user chooses determines their access to
   created playlist, the list of audio files may be linked to the     15   functions and content in present invention. The paying
   user's entry in the user data table of FIG. 2.                          membership requires the user to choose a payment schedule
      Yet another embodiment of the service provided to a user             and specify a payment method. Users who choose not to
   according to the present invention is dynamic playlist cre-             register will be allowed to search for music and transact
   ation. It may be desirable to the user to have continuous               purchases but will only be allowed to listen to promotional
   play-out of music without having to define a playlist or           20   albums.
   repeatedly select playlists that are limited in length. In                 Generally speaking, user actions, such as change in level
   dynamic playlist creation, the actual song selection is done            of membership or viewing of user input windows or sub-
   "on the fly". In other words, selection of each song is done            mittal of user input, do not interrupt the music playing. The
   shortly before play-out of the song. For example, as play-out           system and method of the present invention may also permit
   of a first song nears the end of the song, another song is         25   users to rate the music currently being heard by the listener
   selected for play-out once the first song ends. Dynamic                 and the rating data collected and provided to the record
   play-list creation provides a high level of variability within          companies and other clients interested in such data.
   user-selected preferences, but with a minimum demand for                   The system and method according to the present invention
   user administration. In other words, the user can define his            can be configured to allow the user to choose among a
   preferences and the system will continuously select and            30   variety of play back modes, including normal, shuffle and
   play-out songs based on the user's preferences without                  loop. The play back modes may be based on algorithms
   further user input. Dynamic play-list creation may be                   based on user behavior, user input, collaborative filtering, or
   thought of as a solution half way between a radio station,              other approaches. Typically, a variety of user actions related
   where the user has no control of which songs are played, and            will result in the system generating new suggestions or a
   a user-specified playlist, where the user has exactly defined      35   new recommendation list for the user to review and choose.
   the songs that are played.                                              Examples of these user actions constituting user behavior for
      FIG. 21 is a control flow diagram illustrating one embodi-           purposes of selection algorithms are selection or play out of
   ment of a process 1050 for dynamic play list creation accord-           a play list, selection or play out of an album, rating of a song,
   ing to the present invention. As in the case of the automatic           or buying an album. Results of user behavior based search-
   playlist, the user selects the percentage make-up of the           40   ing are displayed to the user via the user interface.
   dynamic playlist by category type as well as the number of                 The user behavior based suggestion or recommendation
   songs in the play list. At step 1054, the user's preferences and        algorithm may be integrated with a business based selection
   percentages are obtained. At step 1056, a set ofN audio files           criterion as well. For example, the top-scoring album from
   are selected by the system from the categories specified by             the user behavior based recommendation algorithm may be
   the user and on the basis of the percentages obtained from         45   showcased in a promotion window only when the produc-
   the user. The selection process may be pseudo random                    tion company for the album has paid for a timeslot for
   within each category, a form of collaborative filtering, or a           advertising or, conversely, is not displayed if another com-
   combination of these approaches and others.                             pany has purchased the current timeslot.
      Play-out of the songs from the set ofN selected audio files             An example of the user login exchange scenario in
   begins at step 1058, where an unplayed song from the set is        50   accordance with the present invention involves a user ini-
   selected and the audio file retrieved. The audio file for the           tially navigating to a web site configured to operate accord-
   selected song is played-out at step 1060. Play-out from the             ing to the present invention. For example, the user's HTML
   set of N audio files continues until the set is exhausted, as           request may be received, processed and replies transmitted
   reflected in the control flow branch at step 1062. While                by the HTTP servers 932, 934 and 936 of FIG. 19 or WAP
   unplayed songs remain from the set of N, control flow              55   messages similarly handled by the WML servers 952, 954
   branches back to step 1058. However, once the end of the set            and 956. The user is prompted for and enters a user ID and
   ofN is reached, then control flow branches to step 1056 for             password. The user may then be presented with a person-
   selection of a new set of N audio files. By utilizing, at least         alized home page. Optionally, the user may be given a
   in part, a pseudo-random selection process within the cat-              choice to have the web site remember the user ID and
   egories, the new set of N is likely to consist of different        60   password values for subsequent logins. In subsequent log-
   songs from the previous set. However, the selection process             ins, prompting of the user is bypassed and the user is taken
   at step 1056 may be configured to select only unplayed                  directly to the personalized home page for users who have
   songs or songs that have not been played within a prede-                selected the option.
   termined period of time. One of ordinary skill in the art will             If the login attempt fails, i.e. if the user enters the wrong
   readily appreciate that a large variety of approaches and          65   combination of user ID and password, then the user may be
   combination of approaches may be employed in the selec-                 notified and prompted to types in a valid user ID and
   tion process of step 1056.                                              password. As another alternative, the user may be prompted
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                                  15                                                                       16
   to elect to have the correct password mailed to an email                  site. The user would be offered a page or would select a page
   address of record for the user that is included in the user's             that permits entry and validation of payment information as
   data table entry or registration profile.                                 described above.
       A different scenario may occur when a non-registered user                Conversely, a user may downgrade from paying to non-
   navigates to the web site. For example, a registration page          5    paying membership through user selection or through invali-
   may be offered to the user or a registration page may be an               dation of the payment information, e.g. expired or invalid
   option from the home page for the site. The user is presented             credit card. In this case, for example, the Subscribed column
   with the privacy policy for the website along with copyright              for the user's entry in the table of FIG. 2 is set to No and the
   protection policy information or other types of information.              user is denied the privileges afforded to paying users. Some
   The user may then be prompted to enter demographics                  10   of the user's information, such as playlists and demographic
   information such as access location (e.g. work, home, home                information may be preserved for a period of time in the
   office, school), country, and postal code. The Access location            expectation that the account may be once again upgraded to
   and Country fields may be entered using a drop down with                  paying status and access to full privileges restored.
   a list of predetermined choices.                                             The website may also provide an interface through which
       In addition, the user enters personal information such as        15   the user may view and update account information. For
   name, gender, date of birth, musical preferences by genre,                example, the user may select a different credit card for the
   user ID, password, password confirmation, and email                       charges. If the charges for the service are configured to
   address. The Gender and Musical preference fields may have                accrue on an a-la-carte basis, e.g. billed based on total time
   drop down menus with a list of pre-populated choices. Other               of download or total selections, then the interface may
   types of information requested may relate to income, pro-            20   provide the user with the opportunity to review such
   fession or other data relevant for business demographics or               charges.
   for selection criteria.                                                      An embodiment of the user interface for the music search
       The user submits the entered information to the website               function of the present invention may be provided as a page
   and the site server validates the entered values and commits              or window from the server site, e.g. website or wireless
   the information to the database, thereby activating the login.       25   application server. After the user has navigated to the site
   The user data table of FIG. 2 is one embodiment of a storage              and logged in, the user types a full or partial name of artist
   format for this information.                                              or song, or album, for example, into a search window. The
       If errors are discovered in the information entered by the            server site receives and processes the search and returns the
   user, then the user may be presented with a page or window                search results in, for example, a scrollable window where
   that affords the user an opportunity to correct the informa-         30   each result is a separate clickable, e.g. selectable, item. If an
   tion. For example, all errors that are found may be flagged               item is chosen, a feature area of the page from the server is
   for the user to correct with the date for all valid fields already        populated with, for example, an icon for the album, liner
   filled in for the user so as not to require the user to                   notes, or an option to buy the album. If the user is a paying
   unnecessarily reenter data. The server then revalidates the               member, the user may also be presented with an option to
   resubmitted information. This process may be repeated if             35   listen to the song or album, depending on the search. A
   additional errors are found. If the information is entered                non-paying member or a non-registered user may be pre-
   correctly, then the login may be activated.                               sented with an option to view the contents of the album or
       If the user has requested a paying membership, then the               may be permitted to stream out just a sample portion of the
   same steps as just described may be applied except that the               song.
   login is not activated until valid payment information is            40      An embodiment of the user interface for the music
   submitted. To validate payment information, for example,                  suggestion or recommendation function of the present
   the user may be presented with a page over a secure                       invention may also be provided as a page or window from
   connection that may be used to select a payment schedule                  the server site, e.g. website or wireless application server.
   and specify a credit card from which the website server, such             After the user logs onto the server site, the user is offered or
   as the CyberServer 992 of FIG. 19, withdraws the payments.           45   may select the suggestion function through the site home
   The choice of payment schedule may be by week, month,                     page. The server site processes the user's request and returns
   year, etc. The cost for service may be generated from a                   a set of albums or songs influenced by the user's informa-
   backend database, such as using user access information                   tion, such as behavior or demographics. For example, the
   stored as described above with respect to FIGS. 5 and 6. The              criteria used may include a song currently selected by the
   website validates the credit card information and activates          50   user, a song recently added to a user's personal playlist, a
   the login. The website may also submit a request to debit the             recently purchase song or album, the songs found in the
   account by the schedule chosen.                                           user's personal playlists, or the demographic information
       If errors are discovered in the payment information by the            provided by the user. The server, or a server residing at the
   website server, then the user may be presented with a page                server site, will use a suggestion algorithm, such as collab-
   or window that affords an opportunity to correct the infor-          55   orative filtering, to create the recommendation list. The
   mation. For example, all errors found may be flagged for the              server site may return the search results to the user interface
   user to correct and all valid fields filled in for the user so as         in the form of a scrollable window, where each result is a
   not to require the user to unnecessarily reenter data. The                separate clickable item. If an item is chosen, the feature area
   website, or a particular server of the website, then revali-              may be populated with the album icon, liner notes, or an
   dates the resubmitted information. If additional errors are          60   option to buy or listen to the album.
   found, then this process may be repeated. Otherwise the                      As mentioned briefly above, the user interface may
   user's login is activated, such as by setting the Subscribed              include a promotional area where songs or albums are
   colunm for the user's entry in the table of FIG. 2 to Yes.                displayed to the user in the form, for example, of an icon
       Along similar lines, a user may upgrade from a non-                   simulating an album cover and may include names of the
   paying membership or subscription to paying status in order          65   songs on the album, liner notes, etc. The user may elect to
   to obtain full privileges, e.g. ability to download audio files           stream the song or album for listening. The feature area may
   in their entirety, customized play-lists, etc., from the web-             also include a link for purchasing the song or album.
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                                 17                                                                   18
      If a user selecting a song or album for playout does not             The user interface may also be configured to permit a user
   have a audio streaming application in his client device, then        to navigate through to a help page or similar information
   the server site may provide a link through the user interface        regarding the service without disrupting the streaming of an
   to a website or other network resource where the user can            audio file.
   download a streaming application.                                       In addition, the user interface may include advertising,
      The user interface provided to the user by the server site        such as banner ads. These ads may be selected on the basis
   may also include a window for displaying search results,             of timeslots purchased by an advertiser, user demographics,
   suggestion    results, user  defined playlists, service  provide     or based on the user's behavior, e.g. music currently selected
   defined playlists, or other sources. This window will list the       or selected in the past. The banner ad may include a link to
                                                                        the advertiser's website that, when activated, opens a new
   songs from the suggestion list, playlist, etc. and may include "
                                                                        browser window on the user interface for the user to access
   graphical icons representing each song, liner notes, or simi-
                                                                        the advertiser's site without interrupting current streaming
   lar information. This information may, for example, be
                                                                        activity.
   linked to an entry for an audio file in the audio data table of         The server site may allow the scheduling of several types
   FIG. 4. The display window may also include a link for 15 of advertising customers, such as banner and album promo-
   purchasing each song or album. If the list consists of albums,       tion. The advertisers typically do not gain direct access to the
   for instance, the user may be able to click on the icon for the      scheduling systems but rather give their information to the
   album in order to obtain a display of the list of songs on the       server site operational staff that places the order. The banner
   album. The user interface may also be configured to permit           advertising may be outsourced to an Internet advertising
   the user to link from a song to an album containing the song. 20 solutions company such as Doubleclick. Barmer advertising
      As noted above, the user interface may be configured to           scheduling process may also be a manual process. Banner
   link the user to a website or network resource where a song          targeting may be achieved through tags identifying the user
   or album may be purchased. An example of the user inter-             demographic and music currently being played. Album
   face to purchase an album provides a link to a sales partner's       promotion scheduling as well as selection may be similarly
   site. If the user selects this link, a new browser window is 25 handled.
   opened and linked to the sales partner's site where the user            Banner ad scheduling may be performed according to
   can purchase the album. The process of linking to the                parameters specified by the ad solutions partner for each
   partner's site need not disrupt the streaming of the audio file      customer, such as duration, total hits, demographic targeting,
   to the user. The sale of the album to the user is completed          type  of music currently streaming, or pricing extended.
   through   the  partner's site.                                    30
                                                                        Runtime    selection of banner ads by the server site may
                                                                        require the submission of tags for each of the fields used to
      Similarly, for individual songs, the user interface may be
                                                                        schedule the ads. Bimonthly promotion hit reports may be
   configured to offer purchase of the song track or album. If
                                                                        made available to server site personnel in order to bill the
   the user selects purchase of the track, the user may be
                                                                        customer or may be used to automatically bill the customer.
   referred to a sales partner's site that provides for download 35        The album promotion scheduling may be based on one
   of individual song tracks. The process of purchasing the             half hour increments for the entire membership. The fol-
   track need not disrupt streaming of the audio file and the sale      lowing parameters may be specified at the time of schedul-
   of the downloaded track may be completed through the                 ing: duration, total hits, one half hour time slot during which
   partner's site. Alternatively, sale of the downloaded track          to show the album, or pricing extended. Bimonthly banner
   may be completed through the server site according to the 40 hit or promotion reports may be run to generate billing
   present invention with suitable adaptation.                          invoices or data. These reports may contain the following
      Custom compilations of songs, such as the list of songs on        information: total views per album, total detail view clicks
   a playlist, may be purchased in a manner similar to that for         per album, total buy clicks per album, or invoice amount.
   albums or individual songs.                                             The server site may provide for program (music) sched-
      With regard to customized playlists, the user interface 45 uling operations personnel to manipulate the music content
   may, for example, provide a window or input area of a page           and presentation of the site in a variety of ways, such as
   that permits the user to create, modify or delete playlists.         albums a nd pre-programmed play lists. These operations
   The user will be prompted for a name of a playlist. If the           may be supported through an operational access through a
   playlist name is new, then no matching playlist for the user         server site intranet.
   will be found and the user will be prompted to identify the 50          To add a new album, operations personnel may log into a
   songs to add to the play list. This may be through a search or       content maintenance intranet web site. The operator may
   suggestion window, pull-down menu, etc. If there is a                choose an add album link. The operator then specifies the
   matching playlist, then the contents of the playlist will be         album information, such as the album gif or icon, liner notes,
   displayed to the user for editing. The new or edited playlist        song list, genre, or artist information. For each song on the
   is then stored by, for example, linking it to the user's entry 55 album, the operator may specie a path to an encoded file,
   in the user data table of FIG. 2.                                    such as an audio file, containing the song. The operator may
      The playlist window may also include a selection to email         then commit the record for the new audio file, which results,
   the list to a friend. The user will be prompted to identify the      for example, in a new entry in the audio data table of FIG.
   play list and the email address for the friend. The server site      4. The album or song is then available for user access
   will then send the playlist, including, for example, the title 60 through the server site. The operator may similarly delete
   of each song in the list, to the email address provided. The         and album or song, which may result, for example, in an
   email to the friend may include a link, e.g. a FURL, to the          entry being removed from the audio data table of FIG. 4.
   server site along with an invitation to subscribe to the service     Removing a file may also result in a notification being sent
   described herein, if the friend is not already a registered user.    to user affected by the deletion, such as, for example, users
   Also, the link provided to the friend may automatically log 65 having the deleted audio file listed in a custom playlist.
   the friend in, if the friend is already a registered user. The          The operator may likewise administer a pre-programmed
   friend may be offered the option to save the playlist.               play list through an intranet website or similar administra-
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   tive interface. The operator chooses an option to create a              through a link from this page are: registration-nonpaying,
   new pre-progrannned play list. The operator then enters a               registration-paying, album purchase, and song purchase.
   playlist name and searches for songs and albums to add to                  The membership level a user chooses may determine his
   the newly created play list. The operator then commits the              access to functions and content inAmelody. As noted above,
   record of the newly created play list and the server site          5    there may be two membership levels, paying and non-
   makes the list available to users. Pre-progrannned playlists            paying. Both types of memberships ask for basic registration
   may be deleted in a s similar manner.                                   information. The paying membership also typically requires
      In one embodiment, the user interface creates the appear-            the user to choose a payment schedule and specify a pay-
   ance that it is an application that changes parts of the user           ment method. The non-paying member may be able to listen
                                                                      10   to promotional albums and certain pre-programmed play
   interface page as it is interacted with. The user interface may
                                                                           lists provided by the server site. Users who choose not to
   promote usability by dividing the browser real estate into
                                                                           register may be allowed to browse the site and transact
   readily recognized functions that are reused throughout the
                                                                           purchases, but may not be able to listen to any content.
   application. An exception to this appearance to the user is             Examples of functionality supported through a user regis-
   when detailed user input is required by any of the supported       15   tration and profile maintenance page or pages are registra-
   functions. Then a new page may be presented for the user to             tionnon-paying, registrationpaying, change of member-
   input the required data. The user interface design may be               ship from non-paying to paying, change of membership
   implemented in a thin client architecture where no client               from paying to non-paying, view/update account informa-
   side components are utilized, e.g. the browser application              tion, view/update registration information, navigate to ban-
   for the user resides on an applications server at the server       20   ner, and navigate to FAQ.
   site, such as application server 986 of FIG. 19, and scripting             Examples of functionality directed supported by an
   is kept to a minimum.                                                   embodiment of a music listening/searching page, such as
      An example of the user interface is a function aggregate             one offered through a personalized home page, include
   page that refers to a group of intuitively related functions            music search, user requested recommendation, music play
   that maintain the illusion of a unified page or screen, but are,   25   from feature window of promotional album, Music play
   in reality, supported through many separate web pages. The              from feature window of search result, music play from
   user interface may contain the following function aggregate             playlist, music play from pre-programmed playlist, switch-
   pages: a Home Page, a User Registration and Profile Main-               ing play from playlist to album, switching play from album
   tenance, Music Listening/Searching as part of a Personal-               to playlist, playlist creation, playlist deletion, playlist edit,
   ized home page, Music Purchase, help and frequently-asked-         30   playlist email send, playlist email acceptance, navigate to
   questions (FAQ) page. Each page listed above is typically a             banner, and navigate to FAQ. Examples of functionality
   logical page and not a physical page and may be divided up              supported through a link from such a page are: change of
   functionally depending on the desired design.                           membership from non-paying to paying, change of mem-
      Within these pages, functional areas may be reused. The              bership from paying to non-paying, view/update account
   consistent use of screen real estate tends to promote site         35   information, view/update registration information, album
   predictability and usability. Not all of these elements need to         purchase, song purchase, and custom compile list purchase.
   be utilized in every function aggregate page. For example,                 A music purchase page may be offered to the user to allow
   there are a number of reusable functional areas. For instance,          the user to buy music through the server site or through sales
   banner advertising, where an advertising solutions company,             partners or fulfillment affiliates. The user's registration sta-
   such as Doubleclick, may serve the banner advertising. Also,       40   tus may determine the level of access by the user to the
   demographics data may be used to segment the target                     functionality provided by such a page. Example of the
   audience. Further, navigation links to FAQ may be com-                  functionality provided by this page include album purchase,
   posed of a user clickable visual element that presents the              song purchase, and custom compile list purchase.
   FAQ page and frequently appears as an option for the user.                 The capacity of the server site may be measured in the
      For album promotion, an album visual, as well as liner          45   number of simultaneous supported users both by a web site
   notes, may be presented to the user. Examples of an algo-               and by a streaming server. Given that a typical personal
   rithm for selection are described above. A user clickable link          computer class web server, application server, and streaming
   may lead the user to a purchase screen or initiate the playing          server is capable of handling hundreds of simultaneous
   of a selected song from the album. The decision to offer a              users, the server site may be architected in a way that permits
   music play option link may be contingent upon user regis-          50   a hosting provider to configure the server system to meet a
   tration.                                                                particular sizing requirement and that the architecture does
      For music search, the search functional area may support             not, within reason, set a capacity upper limit. A preferred
   several functions. First, it may allow the user to search by            system design and architecture will allow the hosting pro-
   several types of keys, e.g. artist, song, and album. The user           vider to design the appropriate server capacity, bandwidth
   is free to type in any phrase and the system will perform a        55   into individual servers, as well as network and try. load
   like key match by the three criterions. All matched albums              balancing architecture that sizes the total server site user
   will, for example, be returned in a separate scrollable area.           capacity.
   Each item returned may include the artist name followed by                 As noted above, one aspect of the present invention is to
   the album name.                                                         recommend music that the user finds useful. This function
      For music recommendation or suggestion, the recommen-           60   may be provided in a recommendation or suggestion engine.
   dation list may be a passive user experience in that the server         The job of the recommendation engine is to predict what
   site constantly evaluates and modifies the list as the user             new music a user might like to hear at a given moment. New
   interacts with the site.                                                music includes not only new releases but also music that the
      Examples offunctionality supported directly by the home              user has not heard or been recommended before. The engine
   page include user login, music search, music play from             65   may consider a variety of factors in creating a recommen-
   feature window of promotional album, navigate to banner,                dation. Examples of these factors may include: User stated
   and navigate to FAQ. Example of functionality supported                 genre preference at registration, History of music listening
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   access that profiles actual listening behavior (Songs listened        User payment processing may be handled through a
   to), History of music management access that profiles actual       service such as CyberCash. Transactions may be submitted
   playlist contents (Songs contained in personalized playlist),      to the service immediately after the service once the service
   Current musical access context, Current song being played,         to the user is turned on or off or immediately following the
   Rating of a newly heard song, Selection of a promotional 5 user requests. The rate schedules applied to the users may be
   album for listening, and Purchase of an album or a song.           database driven. Cancellation of the service may result in a
       Initially when a new user logs in, the server site may rely    pro-rated refund of the current subscription fee.
   solely on the user stated genre preference to choose a set of         It should be understood that the programs, processes,
   albums to recommend to the user. As the user makes                 methods, systems and apparatus described herein are not
   selections and, through user behavior, compiles a history of 10 related or limited to any particular type of computer appa-
   use, a compiled profile based recommendation may be                ratus (hardware or software), unless indicated otherwise.
   generated. Profiling of music listening and music manage-          Various types of general purpose or specialized computer
   ment may be done using a variety of criteria over time.            apparatus may be used along with the present invention to
   Examples of criteria and categories are era (e.g. 60's, 70's,      perform operations in accordance with the teachings
   Baroque), genre (e.g. Rock, Blues, Hip hop), artist, or 15 described herein.
   producer.                                                             In view of the wide variety of embodiments to which the
       Each factor may be counted over time slices or samples         principles of the invention can be applied, it should be
   where the relative importance of each time slice is assigned,      understood that the illustrated embodiments are exemplary
   for example, through a logarithmic step algorithm that             only, and should not be taken as limiting the scope of the
   decays as the time slice moves away from the current time. 20 present invention. For example, variations may be made in
   The total area captured by the algorithm may provide a data        the message flow scenarios other than those described, and
   point for that dimension, category item (e.g. music listening      more or fewer elements or components may be used in the
   access, Rock). The following list offers examples of com-          block diagrams. In addition, the present invention can be
   binations of factors and criteria that may be used to derive       practiced with software, hardware, or a combination thereof.
   suggestions. Note that not all of the following examples will 25      The claims should not be read as limited to the described
   be relevant for each user. The list includes:                      order or elements unless stated to that effect. Therefore, all
       Music listening, instances ofEra+Music in playlist, same       embodiments that come within the scope and spirit of the
          instances of Era,                                           following claims and equivalents thereto are claimed as the
       Music listening, instances of Genre+Music in playlist,         invention.
          same instances of Genre,                                 30
       Music listening, instances of Artist+Music in playlist,           We claim:
          same instances of Artist, and                                  [I. A method for providing audio service through a
       Music listening, instances of Producer+Music in playlist,      communication network to a user, the method comprising
          same instances of Producer.                                 the steps of:
       This approach may be useful to track the user's musical 35        registering the user for the audio service;
   tastes over time giving more importance to recent behavior            storing a User identifier value for the user responsive to
   yet still taking into consideration older data points.                   registering the user for the audio service;
       Each album in the server site catalogue, e.g. stored on the       receiving a request message through the communication
   server site, may be assigned a value in one or more of the               network, the request message including a network
   four categories mentioned above. A sorting algorithm may 40              address value, a User identifier value and an audio
   be applied over the server site catalogue for each user, taking          identifier value;
   into consideration how well each album ranks against the              searching for a matching stored user name value that
   compiled profile. Emphasis of category in this ranking may               matches the user name value from the request message;
   be based, for example, on the following order: Artist,                when no matching stored user name value is found,
   Producer, Genre, and Era.                                       45       rejecting the request message;
       The list generated from the application of this sort may          when the matching stored user name value is found,
   form the basis for a recommendation. A system configurable               searching for an audio file corresponding to the audio
   parameter may also be used to determine a ranking cut-off                identifier value of the request message; and
   "score" below which the albums are excluded from the                  when the corresponding audio file is found, streaming the
   recommendation list. The server site may choose a set 50                 audio file over the communication network to the
   number of albums from this list to recommend.                            network address.]
       A system configurable parameter may also be used to               [2. The method of claim 1, the method further including
   trigger a periodic ranking sort for each user. A system            the step of incrementing a play-out count of the streamed
   configurable threshold of profile data points may be used to       audio file.]
   trigger the use of a recommendation method over the stated 55         [3. The method of claim 2, the method further including
   preference recommendation method for a user.                       the step of allocating payment to an owner of the streamed
       Current musical access based recommendations may be            audio filed based on the value of the play-out count.]
   based on user interactions involving a particular album or            [4. The method of claim 2, the method further including
   song during the current session and may be used to generate        the step of generating play-out statistics for audio files based
   a recommendation list utilizing a real-time collaborative 60 on the play-out count for each audio file.]
   filtering engine such as Net Perceptions Group Lens, or               [5. The method of claim 1, the method further including
   Andromedia's Like Minds. Examples of user actions that             the step of recording a duration of play-out of the streamed
   may trigger this recommendation approach may include:              audio file.]
   choosing a song to play, start of next song in the play list,         [6. The method of claim 5, the method further including
   positive rating of a newly heard song, selection of a pro- 65 the step of allocating payment to an owner of the streamed
   motional album for listening, and purchase of an album or          audio filed based on a total duration of play-out of the
   a song.                                                            streamed audio file.]
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     [7. The method of claim 5, the method further including                [17. The method of claim 1, the method further including
   the step of generating play-out statistics for audio files based        the steps of:
   on the play-out duration value for each audio file.]                       obtaining a selection of categories from the user along
       [8. The method of claim 7, where the method further                       with a selected proportion for each category of the
   includes the step of collecting demographic data for each 5                   selection; and
   user and the step of generating play-out statistics for audio
                                                                              selecting a set of audio identifier values from the selection
   files based on the play-out duration value for each audio file
   includes relating the play-out statistic for each audio file to               of categories based on the selected proportions.]
   the demographic data for each user that has played-out each                [18. The method of claim 17, the method further including
   audio file.]                                                            the step of storing the set of audio identifier values as
       [9. The method of claim 1, the method further including " another user accessible play list.]
   the steps of:                                                              [19. The method of claim 17, where the proportion for
       storing a play list for the user, where the play list includes      each category of the selection is expressed as a percentage.]
          a plurality audio identifier values;                                [20. The method of claim 1, the method further including
      receiving a play list request message;                               the steps of:
      responsive to the play list request message, retrieving the      15
                                                                              obtaining a selection of categories from the user along
          play list for the user and transmitting the play list to the
          user over the communication network; and                               with a selected proportion for each category of the
       streaming out an audio file corresponding to one of the                   selection;
          plurality of audio identifier values from the play list.]           selecting a set of audio identifier values from the selection
       [10. The method of claim 9, further including the step of 20              of categories based on the selected proportions; and
   sending the play list to another user.]                                    playing out to the user each of the audio files correspond-
       [I1. The method of claim 10, further including the steps                  ing to the set of audio identifier values.]
   of:                                                                        [21. The method of claim 20, the method further including
      receiving a request with the play list from the another              the steps of:
          user;                                                        25     detecting that each audio file corresponding to the set of
      validating the another user;                                               audio identifier values has been played out to the user;
      when the another user is validated as having subscribed,                selecting another set of audio identifier values from the
          playing out the play list to the another user; and                     selection of categories based on the selected propor-
      when the another user is not validated as having sub-                      tions; and
          scribed, sending a message to the another user inviting 30          playing out to the user each of the audio files correspond-
          the another user to subscribe.]
                                                                                 ing to the another set of audio identifier values.]
       [12. The method of claim 1, the method further including
                                                                              22. A method, comprising:
   the steps of:
                                                                              receiving, at a computer system, a requestfrom a first user
       storing a referral link for each audio file, where the
          referral link corresponds to a sales site accessible 35                of a music streaming service to send a play list of music
          through   the  communication    network;                              files  to a second user of the music streaming service,
       outputting the referral link with the streamed audio file;                wherein the playlist was previously created by the first
      responsive to a user request for the referral link, trans-                 user;
          ferring the user to the sales site; and                             in response to receiving the request from the first user,
       incrementing a referral count for the referral link.]           40        sending, by the computer system, a message identifying
       [13. The method of claim 12, the method further including                 the playlist to the second user;
   the step of billing an owner of the sales site based on the                receiving, at the computer system, a request from the
   value of the referral count for the referral link.]                           second user to begin streaming at least a portion of the
       [14. The method of claim 1, the method further including                  playlist;
   the steps of:                                                       45     in response to receiving the request from the second user,
      tracking the audio identifier values for a set of user                     streaming, by the computer system, one or more of the
          requests;                                                              music files included in the playlist to the second user;
      matching the audio identifier values for the set of user                storing, by the computer system, play-out information
          requests with a predetermined set of categories to                     indicative of an amount of the streaming of the music
          determine at least one user category;                        50       files in the playlist to the second user, wherein the
       selecting at least one unselected audio identifier from the               storing includes inserting records into a table of
          user category that has not been requested by the user;                 streamed music files, wherein the records include a first
          and                                                                    record specifying, for a particular one ofthe music files
       sending the unselected audio identifier to the user.]                     in the playlist streamed to the second user, 1) a pointer
       [15. The method of claim 14, where the predetermined set 55               to the particular music file, 2) a duration ofplay-out of
   of categories includes at least one of a music genre, a music                 the particular music file streamed to the second user,
   era, and an artist.]                                                          and 3) an owner identifier indicating an owner of the
       [16. The method of claim 1, where the method further                      particular music file to receive payment; and
   includes the steps of:                                                     based on the play-out information, allocating, by the
       comparing the audio identifier values for the set of user 60              computer system, payments for owners of the music
          requests with a pattern of user requests for each of a                files in the playlist that have been streamed to the
          plurality of other users in order to find a similar pattern            second user, wherein the allocating includes determin-
          of user requests from another user;                                    ing a total duration ofplay-out of the particular music
       selecting at least one unselected audio identifier from                  file based on a plurality of durations ofplay-out of the
          audio identifier values selected by the another user that 65           particular music file included in the table.
          has not been requested by the user; and                             23. The method of claim 22, wherein the request from the
       sending the unselected audio identifier to the user.]              first user includes information identifying the second user.
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                                                           US RE47,053 E
                                 25                                                                      26
     24. The method of claim 22, further comprising:                             relating to a first play list of the plurality ofplay lists,
     receiving, by the computer system, an access requestfrom                    wherein the first playlist was previously created by
        the second user to access the music streaming service;                   the first user;
        and                                                                   in response to receiving the request from the first user,
     in response to determining that the second user is a 5                      send a message identifying the first playlist to the
        registered user of the music streaming service, grant-                   second user;
        ing, by the computer system, the second user access to                in response to receiving a requestfrom the second user
        the music streaming service.                                             to begin streaming from the first playlist, stream one
     25. The method of claim 24, wherein the access request                      or more of the musicfiles included in thefirst playlist
                                                                                 to the second user;
  from the second user includes:                                    lO
                                                                              maintain, in a table of streamed music files, play-out
     the request to begin streaming the music files included in
                                                                                 information indicative of an amount of the streaming
        the playlist; and
                                                                                 of the music files in the first playlist to the second
     a password.                                                                 user, wherein maintaining the play-out information
     26. The method of claim 22, further comprising:                15           includes inserting one or more records for a par-
     receiving, by the computer system, an access requestfrom                    ticular one of the music files in the play list streamed
        the second user to access the music streaming service;                   to the second user, wherein the one or more records
        and                                                                      identify the particular music file and include one or
     in response to determining that the second user is not a                    more durations of play-out of the particular music
        registered user ofthe music streaming service, sending, 20              file streamed to users and an owner identifier indi-
        by the computer system, a message inviting the second                    cating an owner of the particular music file to
        user to register with the music streaming service.                       receive payment; and
     27. The method of claim 26, further comprising:                          allocate, based on the play-out information, payments
     receiving, by the computer system, a registration request                  for owners of the music files in the first playlist that
        message from the second user, wherein the registration 25                have been streamed to the second user, wherein
        request message includes billing information.                            allocating a payment to the owner includes deter-
     28. The method of claim 22, wherein the message sent to                     mining, from the table, a total duration ofplay-out of
  the second user includes an invitation to the second user to                   the particular music file based on a plurality of
  register with the music streaming service.                                     durations ofplay-out.
     29. The method of claim 22, further comprising:                30    36. The computer system of claim 35, wherein the pro-
     storing, by the computer system, music files and play lists       cessing unit is further configured to:
        previously created by a plurality of users of the music           receive a requestfrom the second user to access the music
        streaming service, wherein each of the playlists is                   streaming service; and
        associated with one or more of the stored music files.            in response to determining that the second user is a
     30. The method of claim 22, further comprising:                35        registered user of the music streaming service, grant
     in response to determining that the second user is a                     the second user access to the music streaming service.
        registered user, sending, by the computer system, a link          3 7. The computer system of claim 36, wherein the request
        that is configured to grant the second user access to the      from the second user to access the music streaming service
        music streaming service.                                       includes:
     31. The method of claim 22, further comprising:                40    information identifying the first playlist; and
     subsequent to streaming a music file included in the                 information identifying the one or more of the music files
        playlist to the second user, receiving, by the computer               included in the first playlist.
        system, a request from the second user to add the                 38. The computer system of claim 35, wherein the mes-
        streamed music file to a play list created by the second       sage identifying the first play list to the second user includes
        user.                                                       45 an invitation to the second user to register with the music
     32. The method of claim 22, wherein the playlist was              streaming service.
  previously created by the first user from a set of audio files          39. A non-transitory computer-readable medium having
  stored by the computer system.                                       instructions stored thereon that, responsive to execution by
     33. The method of claim 22, wherein the playlist was              a computer system, cause the computer system to perform
  previously created by the first user for the first user.          50 operations comprising:
     34. The method of claim 22, wherein the play-out infor-              receiving a request, via a public network, from a first user
  mation specifies, for a particular one ofthe music files in the             of a music streaming service to send a play list of music
  play list streamed to the second user, a count value indicating            files to a second user of the music streaming service;
  a number of times the particular music file has been                    in response to receiving the request from the first user,
  streamed to the second user.                                      55        sending a message to the second user, the message
     35. A computer system, comprising:                                       including information identifying at least one of a
     a storage unit configured to store:                                     plurality of music files included in the play list;
        a plurality of music files, and                                   receiving a request from the second user to begin stream-
        a plurality ofplaylists respectively associated with one              ing at least a portion of the play list;
           or more music files of the plurality of music files, the 60    in response to receiving the request from the second user,
           plurality of play lists having been created based on               streaming one or more of the plurality of music files
           information received from users of a music stream-                 included in the playlist to the second user;
           ing service; and                                               storing, in a table, play-out information indicative of an
     a processing unit configured to:                                         amount ofthe streaming of the music files in the playlist
        receive a request from a first user of the music stream- 65           to the second user, wherein the storing includes insert-
           ing service to send, to a second user of the music                 ing, into the table, a first recordfor a particular one of
           streaming service via a public network, information                the music files in the playlist streamed to the second
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                                27                                                                     28
         user, wherein the first record includes an identifier of            in response to determining that the second user is not a
         the particular music file, a duration ofplay-out of the                registered user of the music streaming service, sending
        particular music, and an owner identifier indicating an                 a message inviting the second user to register with the
         owner to receive payment for the particular music file;                music streaming service.
         and                                                         5       42. The non-transitory computer-readable medium of
      using the play-out information to allocate payments for             claim 39, wherein the message sent to the second user
         owners of the music files in the play list that have been        further includes information for registering with the music
         streamed to the second user, wherein the using includes
                                                                          streaming service.
         determining a play-out time of the particular music file
                                                                             43. The non-transitory computer-readable medium of
         based on a plurality of durations of the play-out of the    10
                                                                          claim 39, further comprising:
        particular music file as indicated in the table.
      40. The non-transitory computer-readable medium of                     in response to determining that the second user is a
   claim 39, further comprising:                                                registered user of the music streaming service, sending
      receiving an access requestfrom the second user to access                 a link that is configured to allow the second user to
         the music streaming service; and                            15
                                                                                access to the music streaming service.
      in response to determining that the second user is a                   44. The non-transitory computer-readable medium of
         registered user ofthe music streaming service, granting          claim 39, further comprising:
         the second user access to the music streaming service.              subsequent to streaming a music file included in the
      41. The non-transitory computer-readable medium of                       playlist to the second user, receiving a request from the
   claim 39, further comprising:                                     20
                                                                                second user to add the streamed music file to a playlist
      receiving an access requestfrom the second user to access                 created by the second user.
         the music streaming service; and                                                       * * * * *
